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 Case 4:21-cv-00284-ALM-CAN 3119/2021
                              DocumentSCANNED  Page
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                                                 04/08/21 Page 1 of 20 PageID #: 78




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                           CASE NO 2.1q.01-616,202.1



Judy D. Brown
770 Fairway Dr. #1313                               DISTRICT COURT
Coppell, Texas 75019                                      of

    Plaintiff                                        COLLIN COUNTY

        v.                                           CIVIL DIVISION

ALIXA-RX                                                                                              >-




                                                                           2121 MAR 19 PM 2: 38
                                                                            CO                        )-
Lorraine Dyer                                                                CO
                                                                                                      O.
                                                                            C\l                       th .
Kelly Simpson                                                     0
                                                                  Q
      Pinecrest Dr. #200
6400 Pineciest                                                    w
                                                                  LU
Plano, Texas, 75024                                               -J       2
     Defendants                                                   U-       g Isi                  O
                                                                       •   §
                                                                           CM                         0Q

                               CIVIL COMPLAINT


     Plaintiff brings this action against the Defendants for claims of
Harassment, Hindrance in the performance of her job, claims under the
                 1963, Violations of Defendant's
Equal Pay Act of 1963,               Defendant’s Company
                                                 Company Policy and
                            1.0,1.5, 1.11,1.13,1.22
Procedures sections HR-410, 1.0,1.5, 1.11,1.13,1.22 and 1.28.
                                                        1.28.                           -
                                              Defendant’s actions,
Exposure to a Hostile work environment due to Defendant's
threat of termination, defamation of character and Fraudulent
Inducement of Employment.
   Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 2 of 20 PageID #: 79



 BACKGROnwn
 BACKGROUND

    In September of          Plaintiff responded to a job posting f,
                       2020 Plaintiff
                    of 2020
                                       responded to a job posting foror a
              Specialist position
  ollections Specialist
 Collections                         Plano Texas.
                                  in Plano
                         position in
                                             Texas.
    The recruiter shortly thereafter               the Plaintiff and felt
                                        contacted the
                           thereafter contacted
                                                       Plaintiff and felt she
was
Was aa good fit for the position. An in person    interview was
                                          person interview             between
                                                                  held between
                                                             was held
                                   one of
the Plaintiff and Kelly Simpson, one     of the Defendants.
                                            the Defendants.
   After the interview Plaintiff received a call from the recruiter stating
they were offering the Plaintiff a position, but not at the $19 which was
discussed but an offer of $18 an hour. The recruiter stated that the
Defendant was not able to pay the $19 due to Budget issues which
Plaintiff felt if they had Budget issues they never should have told the
recruiter they would pay $19 an hour.
   On the 5th of October Plaintiff started her job as a Collections
Specialist with the Defendant, she learned their computer system and
within the first two weeks was collecting money and negotiating
settlements which she received praise from Defendant Kelly Simpson
and other employees around her that heard her on the phone with her
negotiations and collection tactics.
    Mrs. Simpson also stated as well on how Plaintiff handled her
                                                             “you’re the
 accounts and stated in the presence of Ms. Manuela Wilson, "you're
 collector” compared to Manuela.
 collector"
 Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 3 of 20 PageID #: 80




  In November of 2020 the Defendant made a business decision to "fix"
                                                                “fix”
a computer glitch that kept invoices from being processed for almost two
years and most of these patients were on Medicaid with very little
income which as aa collector the Plaintiff feels this was more or less a
deceptive business practice in which they required the Plaintiff to
participate in and the only one making the majority of these calls.
Because the statements were not sent out 30 days after service but
some 365 days later made Patients and their family extremely angry and
vented their anger to the Plaintiff which caused her emotional and
physical distress.
   On Christmas Eve, 2020 Plaintiff was required to call these past due
patients and it was at that time she learned her phone display was
coming up as a Spam call, subjecting her to rude and degrading
remarks, something which was not in her job description.
   Around the 12th of January, Plaintiff sent a text to Kelly Simpson
informing her because of the stress these calls were having on her she
was going to take the day off and try to relax.
           14th of January, Plaintiff had a meeting with Defendants,
    On the 14th
 Lorraine Dyer and Kelly Simpson. Plaintiff put two concerns to them.
 1. Plaintiff brought the issue of her salary to the Defendants, she told
 1.
 them that Libby, the recruiter had informed her the rate of pay was $19
 an hour but when the offer came in they told her because of the budget
 they could only offer $18, in which Lorraine came back stating in an
                     “You accepted it".
 unfriendly context, "You          it”.




                                 -a-
                                  a
 Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 4 of 20 PageID #: 81



 Plaintiff became aware of the difference of pay between her and
Manuela Wilson shortly before this meeting. Ms. Wilson responded to
the same posting with the same rate of pay, but when they offered her
the $19 she replied she would not take the position unless she was paid
$20 an hour. Plaintiff and Ms. Wilson have the same responsibilities,
call the same type of accounts but in comparison Plaintiff had more
                                       glitch” and was subjected to
                             “computer glitch"
accounts that fell under the "computer
more abusive and negative remarks made by patients or family
members. Plaintiff later learned that is was against State Law and
probably Federal Law in calling Medicaid patients seeking money which
the Defendant should have known and never informed the Plaintiff
therefore putting the Plaintiff in a situation of violating Laws.
   Also at this meeting Plaintiff made them aware of the Spam display
coming up on her phone when making out bound calls, Plaintiff felt
because of this display patients were not answering their phone or when
                                            “scammer” out to screw them
they did they accused the Plaintiff of be a "scammer"
of money. Defendant Dyer stated she would have IT look into this.
  Plaintiff later learned that Mrs. Dyer never followed up on either of
                           brougjit to her attention and therefore
these issues Plaintiff had brought
                   1.28, 1.13
violating sections 1.28, 1.13 and 1.22
                                  1.22 under the Company's
                                                 Company’s rules and
procedures policy and exposing her to a hostile work environment.




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 Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 5 of 20 PageID #: 82



   At this meeting as well Mrs. Dyer told the Plaintiff that she wanted
her to keep her voice down....Plaintiff was shocked....being a good
collector is having a strong voice presence and Plaintiff has been a
successful collector for more than 22 years and no previous employers
                     “lower* her voice as well as several of Plaintiff's
had ever told her to "lower"                                 Plaintiffs
                                    “Sweetie Collector"
previous employers had called her a "Sweetie Collector” because of her
approach in retrieving money.
     Plaintiff feels this was not only an attack on her personality but
also a hindrance in performing her job properly.
     It should be noted as well that there are several other employees in
the company that have a loud speaking voice and the way the office is
set up they can be considered as well as being loud and Mrs. Dyer never
made any such comments to them.
    It should be stated here as well that the last quarter of 2020 Plaintiff
collected more than $82,000 which she believes was more because she
found several accounts Defendant had failed to calculate in and was
told no Other
        other collector that had worked there brought that much in.
    Plaintiff was on the phone more than 80% of the day dealing with
irate patients or their family members in trying to collect money. There
were issues of billing, medications not covered by insurance and other
causes for concern of billing errors which the Plaintiff had to resolve in a
 professional manner.
    The week of February 15th, one of the worst storms in Texas history
 came upon many employers when their employees were forced to work
      home. Plaintiff was one of those employees. Her work environment
 from home,
 usually consisted of two monitors and easy access to several
 applications in performing her job.


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 Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 6 of 20 PageID #: 83



  Plaintiff was provided only one monitor in trying to access 6 or more
                                                   “sleep mode"
applications with the system constantly going into "sleep mode” every
minute or so, which when at her work station did happen but not as
quickly as what the Plaintiff was experiencing at home.
   Many other employees did not have electricity and some without
water which was the case of Defendant Simpson.
   Plaintiff did have electricity and water and even though her work
productivity was slow due to having pop ups freezing her ability to
access the system she was struggling on.
  At around 4:00 on the afternoon of the 15th,
                                         15th, roughly half an hour
before Plaintiff was scheduled to punch out she received the following
email from Mrs. Simpson:
    “Can you both send me a "detailed"
    "Can                    “detailed” report with all of the
accounts you worked today? I know inbound calls have been an
issue so I1 want to make sure we have made up for it
                                                  it on outbound
             You.”
calls. Thank You."
    Plaintiff replied back:
     “If you look under my spreadsheets you can see the accounts I1
     "If
                                 dates..... ”
touched because it will have the dates.....'
     Reply from Defendant:
                Defendant:
      “Yes, I am unable to get on the "S"
      "Yes,                           “S” drive. Pleise
                                                 Please send to my
email.”
email."
       “All employees who work from home have to create a list of
       "All
 their work day. It does not have anything to do with me
 questioning your work. Please create the list and send it to me, if
 you need the next 30 minutes to do so that is fine"
                                               fine”



                                   - S"
    Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 7 of 20 PageID #: 84



     NOTE: This was the first
                            first time Plaintiff was informed of this
policy as well as the fact Plaintiff was not an employee that worked
from her home, she worked in the office in Plano, Texas on an 8-4:30
regular schedule.
          Plaintiff:
          “I wish you had told me that this morning instead of at the last
          "I
minute.”
minute."
This page IntantlanaUv blank
MIS page  bigirrirant:
          Defendant:
            “Unfortunately II have not had the means to do much today
            "Unfortunately
since II have no power stilL
                       stilt Thanks for being so cooperative."
                                                 cooperative.”
        Plaintiff took this as a sarcastic remark from the Defendant and in
                                             1.28 of the Company's
doing so should be a violation under Section 1.28        Company’s
Policies and Procedures guidelines.
                               16th at 9:30 in the morning Mrs. Simpson
         The next day February 16th
sent the following email to the Plaintiff:
          "Please remember to keep track of the accounts you worked
today. Please send me the details of the accounts you worked
before the end of the day"
                      day”
          Plaintiff replied:
             "What do you mean when you say details......"
                                            details.....
          Defendant’s response:
          Defendant's
                "I need to know what exactly your workday looked like. The
 accounts you researched, called and spoke with anyone."
                                                anyone.”
           Plaintiff’s reply to Mrs, Simpson:
           Plaintiff's               Simpson:
                "It’s not my fault you can't
                "It's                                   “S” drive and because
                                       can’t access the "S"
            shouldn’t have to do "double"
  of that I shouldn't            "double” work"
                                          work”
  Exhibit A
       6 of 6
  page 606                               '"V?w
  Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 8 of 20 PageID #: 85



 Plaintiff continued to have issues with her computer, the pop-ups
were worse which kept the Plaintiff from accessing the applications on
the server to perform her duties as a collector and Plaintiff would send
Mrs. Simpson emails informing her of these issues, Kelly replied back
                didn’t have these issues, saying it was my network and
stating Manuela didn't
other statements referring to the fact that it was my fault the system
wasn’t working properly.
wasn't
                                             Plaintiff’s computer and
  Dan Setter, IT Manger was able to log into Plaintiff's
found it was not Plaintiff's
                 Plaintiff’s network and sent an email to Mrs. Simpson
stating the following: Exhibit B
Kelly,
 I’ve connected to Judy's
 I've              Judy’s home laptop to run diagnostics and assess
the situation.
Her network speed is blazing at 700 download and 250 upload, it is
not network speed. The CPU and memory on her laptop look great,
at a 30% threshold. I would worry if it was at 75% but nowhere
near that so it is not a process or lack of horsepower on her laptop.
 Judy is questioning some of the behavior of Excel icons and a new
word doc and why certain things automatically launch and popups
that hover over them. There is not much I can do from an IT
perspective on that. I suggested that the nuances Judy is having
with her icons and word docs that she reviews with you in person
                                                %Judu soldiers on. It
on Monday. In the meantime II suggested that Judy
has been aa difficult week and all of us have to make do. itIt has
          perfect.
not been perfect.
    Plaintiff feels this too was hindering her ability to perform her job.
 Defendant did not have power and could not access the computer
 system to verify any information, notes we would put in the system,
 comments as to what we had done, as she would usually do when
 reviewing our accounts worked.

                                    ~1~
                                    ••••••• dm...7   9m+
Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 9 of 20 PageID #: 86



   The winter storm we endured created a lot of stress for many
residents of the state of Texas and many employees were faced with
issues they don't
            don’t usually face and Mrs. Simpson was not sympathetic to
those issues and made demands upon the Plaintiff that were out of the
usual in doing our job especially with the computer issues she was
having.

                2nd again Plaintiff was asked to join Defendants Dyer
   On March the 2'
                 “Verbal Counseling"
and Simpson in a "Verbal Counseling” meeting.
   She was provided a document (Exhibit C) which stated at the top
“Record of Verbal Counseling".
"Record           Counseling”. The document was siting section 1:28
                                                               1:28 of
the Rules and Discipline Policy:
      ttRude or disrespectful conduct towards a customer, patient,
      "Rude
                           supervisor.”
family member, employee or supervisor."
    The reason for this was because of the email Plaintiff had sent saying
“It’s not my fault you can't
"It's                  can’t access the "S"
                                        “S” drive and because of
       shouldn’t have to do "double work".
that I shouldn't                    work”.
                                               didn’t have power or
    Mrs. Dyer stated that because Mrs. Simpson didn't
water Plaintiff needed to make concessions for that and that if Plaintiff
continued to disrespect her it would be grounds for termination as well
                          “When I tell you to do something you
as the statement from her "When
 better do it or I'll fire your ass."
                                ass.”




                                    g
                                   -3'
Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 10 of 20 PageID #: 87



                                            “Verbal Counseling"
  What Defendants failed to mention in this "Verbal Counseling the
statement by Mrs. Simpson the day before, Exhibit A
  "Unfortunately II have not had the means to do much today since
II have no power still.
                 stilt Thanks for being so cooperative.
                                           cooperative, which
Plaintiff feels was not only sarcastic but also a violation of the same rule
in which a trail of emails which Plaintiff had requested be put in her
personnel file would support.
   Also upon further review of the emails between Mrs. Simpson and
the Plaintiff, the statement that "emailing me the records 'you were
keeping would only take an additional couple of minutes,"
                                                minutes,” but upon
a complete review of the emails Defendant states "take
                                                 “take the next 30
                    to*”
minutes if you need to'"
    Defendant Dyer asked Plaintiff to sign this document which she
refused. A couple days later Plaintiff submitted her reply to not only
Defendants Dyer and Simpson (Exhibit D) but also to the President and
CFO of the Company and shortly there after Plaintiff received an email
from HR stating: (Exhibit E)
    “The HR received your complaint today and would like to speak
    "The
to you since this is the first we are hearing about the issues you
have raised..........
     raised           ”
    Because Plaintiff was asked to sign this document and was given a
verbal threat of termination, HR should have either been in this meeting
 or at least investigate the reason for the "Verbal Counseling” especially
                                            “Verbal Counseling"
 since this was during a time employees of the company were out of their
 element and had to endure difficulties that they don't usually occur but
 it seems Defendant Dyer took it upon herself to override the policy and
 do what she wanted.


                                      -1'
 Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 11 of 20 PageID #: 88



        Plaintiff’s review of the "Forms
   Upon Plaintiff's                         Discipline” under the Human
                                  “Forms of Discipline"
Resource Management Policies and Procedures Manual (Exhibit F)it
states under Forms of Discipline.
    Forms of Discipline that may be used are:
        Verbal Counseling
         Written Correction Actions
         Unpaid Suspension
         Involuntary Termination
   The rule continues to state:
       “Written disciplinary actions will be reviewed by HR to
       "Written
ensure the issue has been objectively investigated and properly
documented before the action is taken. AlixaRX may exercise, in
its sole and absolute discretion, any form of discipline deemed
appropriate and is not intended to imply that an employee may be
                                    “at-will employment of the
terminated only for cause nor after "at-will
employee^
employee"
     The winter storm that occurred that week put a strain on everyone
                  didn’t take that into consideration but instead lashed
but the Defendant didn't
out at the Plaintiff which is one of the reasons she is filing this
complaint and to detour the Defendant from continuing this type of
 abusive behavior




                                      -\D-
 Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 12 of 20 PageID #: 89



                             COUNT ONE
                                                 1963
              Violations of the Equal Pay Act of 1963
   Ms. Wilson and Plaintiff responded to the same posting from Orion
Staffing, we were both told the position paid $19 an hour but Ms.
Wilson demanded $20 and the Defendant pays her that whereas Plaintiff
receives $2 less
   Both of us make the same.
                       same, type of calls but as the call records will
support, Plaintiff makes more calls per day than Ms. Wilson. We both
perform the same job duties and instructions from the Defendant Kelly
Simpson are the same when emails are sent to us.(Exhibit G) In fact
Plaintiff feels she has more difficult accounts because of Patients being
on Medicaid and more difficult to collect because of several billing
issues.
   Plaintiff feels their action in telling her they were unable to pay her
                                                          1.28 and a
what the recruiter stated was a violation of Company rule 1.28
Fraudulent Inducement of Employment in lying to her.
    It should be stated as well that Ms. Wilson was not subjected to the
type of calls the Plaintiff made when the Defendant decided to send out
Statements to Patients after 20 some plus months.
Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 13 of 20 PageID #: 90



                            COUNT TWO
              Violations of Company Policies and Rules
   Plaintiff believes the Defendants violated six rules under the Human
Resources Management Policies and Procedures Manuel.
   HR-410 Forms of Discipline
   Defendants Dyer and Simpson took it upon themselves not to inform
HR of the Verbal Counseling that was put in writing and the threat of
termination made especially since employees of the company had to
endure unusual circumstances because of the winter storm.
    No investigation was made surrounding the circumstances of the
“Verbal Warning”
"Verbal Warning" since many of the employees had no power, problems
with their systems as stated by Dan Settler in his email to Defendant
               17th of February.
Simpson on the 17th
    Cydney Wachi and Scott Brown head of HR did not become aware
of the Verbal Counseling until Plaintiff sent her response to upper
management.
   Plaintiff feels Defendant&
                   Defendants Dyer and Simpson violated Rules 1.0,
                                                              1.0,
1.3,1.5, 1.28,
1.3,1.5, 1.28, 1.11
               1.11 and 1.13
                        1.13 under their Policy and Procedures
Guidelines.
  Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 14 of 20 PageID #: 91



                          COUNT THREE
              Fraudulent Inducement of Employment
   Plaintiff feels the Defendant committed this act against her for the
following reasons.
   Plaintiff responded to a posting in which she was told paid $19.00 an
hour but was only offered $18.00 an hour due to the statement the
Defendant had budget issues but later learned that the other person
that applied for the same position was offered $19.00 an hour same as
the posting and stated she would not take the job unless she got $20.00
in which Plaintiff learned roughly two months after her employment.
She also learned that the company had a very good year and employees
were given a bonus which one would think does not happen if you are
having budget issues.
   Plaintiff puts this before the Court, if indeed this was the issue why
didn’t Lorraine Dyer do as she stated to the Plaintiff in January when it
didn't
was brought up in their meeting that she would have Kathy in HR look
into it and again when it was brought up in the Verbal Counseling
Meeting..... on the 2nd
Meeting             2' of March again telling the Plaintiff she had Kathy
look into and Plaintiff finding out no such call was ever made to Libby,
the recruiter that had spoken to her.
   Plaintiff feels this is not only an act of fraud but a violation of Rule
1.28 in being disrespectful in lying to her pertaining to concerns of her
1.28
salary.




                                    .'\3"
Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 15 of 20 PageID #: 92



                            COUNT FOUR
                      Hostile work environment
   When the Defendant decided to send out statements to Medicaid
patients that had not been sent in over 20 months it exposed the
Plaintiff to a Hostile Work Environment in many aspects and exposing
her to violations of State Law. The patients she called or their family
members were degrading and insulting in their tone to her and telling
how dare she call them. Stating they didn't
                                     didn’t have any money and in one
instance a patient told Defendant Simpson how insensitive the Plaintiff
was and unfeeling. Mrs. Simpson apologized to the patient and told her
she would speak to the Plaintiff but when this was brought up at the
meeting in January, Defendant Dyer told the Plaintiff "That's
                                                      “That’s your job”.
                                                                   job".
    Plaintiff feels it was not her job because it was never told to her that
she would have to call patients that hadn't
                                     hadn’t received any type of
statement or invoice in over 2 years or that she would be violating a
state law in calling them and Plaintiff feels this is a violation of rules
1.5, 1.28
1.5,          1.13
     1.28 and 1.13
    No one else in the Company was making these calls, not even
Manuela Wilson.
                                                               “Spam,
    Also when the Plaintiff found out that her phone displayed "Spam,
     Risk” Defendant did not to resolve this and lied to the Plaintiff that
High Risk"
she was going to send an email to the Manager of the IT Department but
roughly 2 months later it was the Plaintiff that approached Mr. Crowder
and was informed he never received any type of communication from
Lorraine and when Mrs. Simpson heard this conversation she said to
                                        “Did you go to Mike yourself'.
 the Plaintiff in a very negative tone, "Did                yourself”.



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Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 16 of 20 PageID #: 93




                           COUNT FIVE
              Defamation of Character and Harassment
                              15th, Plaintiff was required to work
  During the week of February 15th,
outside of her normal work environment, having constant issues with
her computer, having to use her own cell phone in holding the phone in
one hand and trying to work the computer with the other, but instead of
                                                           “nick-
Mrs. Simpson being compassionate and understanding she was "nick-
picky*
picky" and "finger pointing" with such comments as "Manuela
           “finger pointing*’                               isn’t
                                                   aManuela isn't
                     “what do you mean the system locked up? I
           problems" "what
having any problems”
                                             “it’s your network,
                                      today” "it's
have had no issues with Payer Express today"
                                  this” Exhibit A and especially the
no one else is having issues like this"
comment "Thanks              cooperative”, which as Plaintiff has
        “Thanks for being so cooperative",
stated was considered a sarcastic remark to her which is why she feels
should be considered a violation of their own rule in being disrespectful
to the Plaintiff.
  The comment Plaintiff made about Defendant not having access to
    “S’* drive and causing her "double
the "S"                                work” was appropriate because of
                               “double work"
the pressure Defendant Simpson was putting on her and not having
electricity or water is not a work related issue and should have nothing
           Plaintiffs job performance.
to do with Plaintiff's
                               short* of her spreadsheet which is on the
                         “Snap short"
   Plaintiff even sent a "Snap
“S* drive which was not sufficient enough for the Defendant but these
"S"
are the same spreadsheets that are normally stored for Mrs. Simpson to
review our work.
Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 17 of 20 PageID #: 94



 Plaintiff puts this before the Court as well, if Defendant Simpson did
not have power, what is the purpose of sending a detailed report to her
every day because not only could she not get onto the "S"
                                                      “S” drive but with
no power she was not even able to get into the Company's
                                               Company’s computer
                                  “S” drive and she would have had the
system. Our work is stored on the "S"
ability when power came back on to check our work or when she came
back to the office when she had the proper "tools"
                                           “tools” to verify information.
  To send a report that seemed to be non related to our productivity at
the time put extra stress on the Plaintiff and caused her additional work
to do outside of her required responsibilities just because the Defendant
had no power at her place of residence.
   Plaintiff is always at her desk on time ready to start her work day.
She does her work in a timely manner and does not participate in office
chit chat.
   Many employees around her that have heard her on the phone in her
collection efforts have commented on how she handles patients and the
ability to either get the full amount owed or reach a settlement right
there and then.




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Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 18 of 20 PageID #: 95



  For these reasons as stated Plaintiff seeks punitive damages in the
amount of $75,000 for which $30,000 for violating a Federal law and
putting her still at risk in violating Laws because she still receives calls
                                                      “glitch” statements
from Medicaid Patients that are still receiving these "glitch"
as well as their actions under Fraudulent Inducement for Employment,
$45,000 for failure to follow several rules under their own Company
                                        Plaintiff’s job performance and
Policy and Procedures and for hindering Plaintiff's
such amount to double if Defendant terminates Plaintiff for any such
reason related to her civil action. Plaintiff feels based on previous
employees, Defendant Dyer will find a way to terminate her or get her to
leave on her own because of her harassment.
   Defendant is in an industry that services Nursing Home Facilities
and should have compassion and understanding to not only those that
they serve but to their employees as well for the difficult work they are
demanded to do.
    Plaintiff has heard as well that this is not the first time Mrs. Dyer
                           “DO WANT I SAY OR ELSE"
has conducted herself as a "DO               ELSE” Supervisor and
Plaintiff intends to Subpoena personnel records to support this.
    It should be noted as well at the time of this filing roughly 2 weeks
after Plaintiff submitted her response from the Verbal Counseling, HR
has failed to address any of the issues she has raised and as such feels
compelled to file legal against them.




                                 - VS-"
Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 19 of 20 PageID #: 96



 Plaintiff seeks court costs and any other costs in which she would have
to pay to support her action in Court.
                                Court

Respectfiilly
Respectfully Submitted

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  dy D Drown                                DateifWiJuLctof
                                            Date‘inew-9, \g, tea(
Plaintiff

770 Fairway Dr. #1313
Coppell, TX 75019
682-701-9471
682-701-9471
jd.brown2017@yahoo.com
jd.brovvn2017@yahoo.com



Jury Trial Demanded
 Case 4:21-cv-00284-ALM-CAN Document 4 Filed 04/08/21 Page 20 of 20 PageID #: 97



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  page 4 of 4
